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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

UNITED STATES OF AMERICA,
                                                               ORDER
                            Plaintiff,
                                                               08-cr-88-bbc
              v.

JOSE LUIS QUINTERO,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



UNITED STATES OF AMERICA,
                                                               ORDER
                            Plaintiff,
                                                               08-cr-75-bbc
              v.

FIDEL HOLGUIN,

                            Defendant.

- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

       In separate orders, I granted the government’s motions to amend the judgments in

these cases to include orders of forfeiture. On reconsideration, I have some doubts whether

it is within the court’s authority to make such an amendment once the judgment has been



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imposed and entered. See, e.g., United States v. McHugh, 528 F.3d 538 (7th Cir. 2008).

Therefore, I will refrain from entering amended judgments until the parties have had an

opportunity to be heard on this matter. The government may have until December 9, 2008

to file briefs; defendants may have until December 16, 2008 in which to respond; and the

government may have until December 23, 2008 in which to reply.



      Entered this 2d day of December, 2008.

                                        BY THE COURT:
                                        /s/
                                        BARBARA B. CRABB
                                        District Judge




                                           2
